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                      Exhibit A
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      Supreme nggﬁofglfgnnsylvanla
                             1         t7                    5‘“ \\                             I                                           71       3%:
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      D ELAN       €§/ County
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        The mformatton collected on thzs form IS used solelyfo; cowl admmzstratzon purp0§e§ TltISIformj es not
        supplement or reP [ace the filmg and servtce o P [endings or other P aP ers as requu ed bylaw 01 rules 9 court
      Commencement of Action                                                                                                                            I A
S      D Complaint                                a Writ of Summons                         gPetition
E      [I Transfer from Another Jurisdiction                                                  Declaration of Taking



T                Mam»                                  s.               a                                    “TD BANK
                                   V                                                                Dollar Amount Requested      Uwithin arntration limits
(I)   Are money damages requeSted? N Yes                                         D No                     (check one)            #1 outside aritration limits


N      Is this a Class Action Stat?                                   [I Yes      8‘! No            Is this an MDJAppeal?                  [I Ye-

A            Name of Plaintiff/Appellant s Attorney
                             3’1            Check he] e if you have no attorney (are a Self Represented [Pro Se] Litigant)

      Nature of the Case                          Place an X ’ to the leﬁ of the ONE case catego ry that most accurately describe your
                                                  PRIMARY CASE If you are making more than one type of claim, check the; 0 that
                                                  you consider most important

      TORT (do not Include Mass Tort)                                   CONTRACT (do not Include Judgments)           CIVIL APPEALS
        a Intentional                                                     [I Buyer Plaintiff                           Admmistrative Agenci s
        D Malicious Prosecution                                           [I Debt Collection Credit Card               a Board of Assessm nt
        a Motor Vehicle                                                   [I Debt Collection Other                     E] Board of Elections
        a Nuisance    b1                                                                                               E ISDept of Tzanspcirt tiIon
          Premises Lia iity                                                                                                tatutory ppea 0t or
S
E            p     t
        a mzigjzrglabihty (does not Include                               El Employment Dispute
                                                                             Discrimination
C       D (SDItZZCrlzer/leel/ Defamation                                  El Employment Dispute Other                  D Zoning Board
T      E I                                                                                                             D Other

I                                                                         D Other
0     MASS TORT
       a Asbestos
N      [I Tobacco
       a Toxic Tort DES
        [I “W T” Implant                                               REAL PROPERTY                                  MISCELLANEOUS
        D Tore Waste                                                      D Ejectment                                  B Common Law/St tory Arbitration
B       El 0t er                                                          B Eminent Domain/Condemnation                El Declaratory Judg ent
                                                                            Ground Rent                                   Mandamus
                                                                          E] Landlord/Tenant Dispute                   E Non Domestic Re ations
                                                                          [I Mortgage Foreclosure Residential            Restraining Orde
      PROFESSIONAL LIABLITY                                               [I Mortgage Foreclosure Commercial           D Quo Warranto
       E]    Dental                                                       D Partition                                  [I Replevin
       a     Legal                                                        [:1 Quiet Title                              D Other
       [I    Medical                                                      [I Other
       D     Other Professional



                                                                                                                                                          Updated 1/1/2011
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                                     0 RI G1 \ N A L.
                      COURT OF COMMON PLEAS                                       $3
                   DELAWARE COUNTY PENNSYLVANIA                                                    :3    ”A
                                                                                        L , \z      x;   “J
                                                      X                                 ’  ’2)
                                                                     CI» VI l; ACTION         0
ABDUS SHAHID                                                         NO 01/ “025321 09299519 3'
            Plaintlﬂ‘                                                                  ; 9

     against                                                     VERIFIED COMPLAINT

TD BANK,N A
                  Defendant
                                                      X

1 That all hmes herein aﬁer ment10ned plaintiff is 67 years old senior USA citizen of

  Bangladesh origm Plaintiff is owner ofthe subject property 850 Summit St, Darby PA

 19023 during last 15 years smce January 2006 This IS a large about 55 000 square feet

 valuable warehouse

2 That all tunes herein aﬂer mentloned TD Bank,N A is mortgage holder of the subject pr I perty

  850 Summit St Darby PA 19023

               TD Bank,N A ﬁled foreclose preceding saying false that plaintiff did
               E61 [35y maﬁgﬁgé f0? lﬁﬁg tiﬁié iﬁtéﬁﬁéﬁall'y diié f0 plaintiﬁ’s faéé and
               nation of origin although plaintiff pald mortgage through September
               2021 Thus, defendant violated plaintiff’s civil right for trying foreclose
               ﬂié valiiablé Sﬁbjééf ﬁféﬁéﬁj" diié f6 plﬁiﬁﬁft’s faéé aﬁd ﬁaﬁﬁii 6f Ofi
               saying false although plaintiff paid mortgage through September 2021 I his
               is st) éiti‘éﬁiély outrageoiis as to affliéibiis mid ﬁnaéééﬁtablé iii 6M""llz"'éd
               society


3 On 2/5/2021 defendant TD Bank,N A. ﬁled foreclose proceeding to foreclose the subj .

   property850 Summit St, Darby PA 19023 of 67 years old senior USA c1tizen by TD B u               N

  A branch 2035 L1mestone Road, Wilmington, DE 19808 intentlonally due to plainuft‘s I cc

  and nation of origm saying numerous false

               Defendant violated plaintiff’s civil rights Intentionally due to
               plaixifiﬂ’s race and ﬁation of ofigui Defeﬁdant treated plamﬁff
               differently due to plaintiff’s race and nation of origin

                                                  1
           Case 2:22-cv-00045-GAM Document 1-4 Filed 01/06/22 Page 4 of 8




4 Defendant intentionally treated plaintiff diﬁerently due plainuﬂ’ 3 race and nation of orig1

  Defendant violated plaintiffs civil right due to plaintiff’s race and nation of origin for ﬁli g

   foreclose case saymg numerous false although plaintiff paid mortgage through Septemb

  2021 m this pandemic time

               Before ﬁling the foreclose case on 2/5/2021, defendant made deal with
                Darby Boroiigh to sliiit oﬁ' electricity 0f the whole 55,000 sqiiai'e feet
                warehouse and to remove all tenants of the subject property to stop
                rental income On 08/14/2020 Darby Borough shut off electricity of en re
                building and removed all tenants to foreclose the property Thus, plain
                lost all rental income on 8/14/2020 Then on 2/5/2021 defendant ﬁled
                foreclose case thinking plaintiﬁ' will not be able pay mortgage This is s
                oiiti'ageoiis conspiracy of defendant as to atrocioiis aﬁd ﬁﬁaccefrtalile
                civilized society Defendant made outrageous conspiracy to foreclose t
                Valuable property of 67 years old senior USA citizeﬁ due to plaintiff’s 'ce
                and nation of origin

5 Before ﬁling the foreclose case on 2/5/2021 defendant made deal With Darby Borough t shut

 oﬁ‘ e1ectric1ty ofthe whole 55 000 square feet building to stop rental income fully Durin last

 one year the buildmg is fully dark. This 15 extremely outrageous conspiracy of defendant 0

  foreclose the property

6 Defendant also made deal with Darby Borough to remove all tenants by pohce On 8/ 14/ 020

 Darby Borough removed all tenants by pohce to help defendant stopping rental income s that

 plamtlﬁ‘ will not be able to pay mortgage and defendant Will be able to foreclose the prop rty

 Mortgage 0fthe property is $38,235 24 per year This is outrageous consplracy of defen           t to

  foreclose the valuable property of67 years old senior USA c1hzen due to race and natio of

  origin

               Defendant confessed that they ﬁled case on 2/5/2021 to foreclose the
               Vﬂliiiiblé ﬁféfléi‘fy 6f [31mm ﬁlﬂiﬁii'gli plﬁiiiﬁff flitid till mortgage
               in this pandemic time So, plaintiff case is proved on consent.


7 Plainth case is proved on consent. Defendant confessed they ﬁled foreclose case on


                                                 2
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  2/5/2021 to foreclose the subject valuable property although plaintlﬁ‘paid mortgage in

  pandemic time without gettmg rent ﬁom tenants during last one year from 8/14/2020 On

  8/14/2020 all tenants of the subject property were removed by police to start foreclose cas on

  2/5/2021

8 Plainuﬁ‘paid mortgage 8 38,235 24 during last one year from 8/14/2020 through Septem er

  2021 without getting any rent from tenants due to conspiracy of defendant. Defendant

  removed all tenants by pohce 0n 8/14/2020 making deal with Darby Borough Plaintiﬁ‘ h

  mortgage payment receipts from defendant TD Bank, N A. through September 2021 al               ugh

  all tenants were removed by police on 8/14/2020


9 Defendant treated plain’uﬂ diﬁcrently due to plaintlﬂ’s race and nation of on'gin This 13

   extremely outrageous violation of plaintiff’s c1vil right

WHEREFORE based on the foregoing facts plaintlﬂ‘demand judgment $30 Million doll

(Thirty Million Dollars) against defendant TD Bank, NA.-

(a) for rent loss due to making deal with Darby Borough to shut off electricity on 8/14/202

   and to remove all tenants to stop rental income before starting foreclose case on 2/5/202 ;

(b) defendant will pay plaintlﬁ‘ for treatmg plaintiff diﬂ‘erently due to plaintiff s race and

  nation of oﬁgm and violatmg plaintiff 5 civil rights;

(0) defendant will pay plaintlff for ﬁlmg foreclose proceedmg on 2/5/2021 to foreclose val ble

  property of 67 years old senior USA citizen saymg intentionally numerous false that pla tiff

  did not pay mortgage for long time due to plaintiﬂ’ 5 race and natton of origm although

  plainuff paid mortgage through September 2021 without getting any rent during last on year

  from 8/14/2020 due to intentlonal acts of defendant

((1) defendant will pay plaint1ﬁ‘ for intenhonal violat10n of plaintlﬂ" s c1vi1 rights due to


                                                   3
        Case 2:22-cv-00045-GAM Document 1-4 Filed 01/06/22 Page 6 of 8




  plaintlft’s race and natmn of origin;

and such other and further relief the com deems just and proper


Dated Brooklyn, New York
      September 18 2021

                                                              Respectfully Submitted

                                                                    M

                                                             Abdus Shahid(P1aint1ﬁ‘/lan 0rd)
                                                             455 Tompkiﬁs A‘v‘é Apf#2
                                                             Brooklyn, NY 11216
                                                             (347) 666 3006
                                                             Email abcdshahid@hotmai com




TO

TD Bank N A
 42 E Baltunore Ave
 Media, PA 19063




                                              4
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                                      VERIFICATION




    State ofNew York     }

    County ofngs         }




    Abdus Shahid, bemg duly sworn, deposm and says I have read the following and know the co tent

    thereof, that the same is true in my knowledge.



    Dated. Brooklyn, New York
             q I pg1 2.0 ‘2—(




                                                  Abdus Shahid




                                          2.
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                 emu
             Comrﬁssion Expirgglsanggyb L}
                      Case 2:22-cv-00045-GAM Document 1-4 Filed 01/06/22 Page 8 of 8

                                SHERIFFDELAWARE
                                         8 DEPARTMENT
                                                COUNTY
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                                                                                                                                                                017’
                                        201 WEST FRONT STREET MEDIA PENNSYLVANIA19063 (610) 891-4296
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                       'T 2 9&5! ls, N A .
                    6 ADDRESESHeex or RFD Apanmenl No Ciky 80m Twp Slate and ZIP Code)
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1 INDICATE UNUSUAL SERVICE El REG MAIL a DEPUTIZE 0 POST DOTHER
Now                      20           I SHERIFF OF DELAWARE COUNTY PA do hereby deputize the Sheri" of
                                                 County to execute this Writ and make return (hereof according
to law This deputation being made at the request and risk of the plainti"             SHERI‘F OF DELAWARE COUNYV
8. SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDI'HNG SERVICE



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23
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